                          UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION

   UNITED STATES OF AMERICA,                   )
                                               )
                  PLAINTIFF,                   )      Case No. 3:11-CR-00012
   vs.                                         )      JUDGE WISEMAN
                                               )
   JERRY DINKINS                               )
                                               )
                  DEFENDANT.                   )


     ORDER ALLOWING DEFENDANT ACCESS TO IPOD FOR DISCOVERY
                           REVIEW

         Upon motion of the Defendant, the Court Orders that the Defendant shall be

  allowed to use an Apple Ipod or similar device for the purpose of reviewing the audio

  discovery in this case, subject to the guidelines established by the Warren County Jail for

  such a procedure. The Apple Ipod shall be provided to the Warren County Jail through

  the Defendant’s counsel, John Nicoll.


         Entered this the WK day of 'HFHPEHU, 2011.


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  Thomas Wiseman, Jr., District Judge.




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